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Case 3:20-cv-00133-JCH Document 96-9 Filed 05/19/20 Page 1 of 7

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT

 

JAKUB MADEJ
Plaintiff,
v.

YALE UNIVERSITY, MARK SCHENKER
JESSIE ROYCE HILL, MARVIN CHUN,
PETER SALOVEY

Defendants.

 

CIVIL ACTION No. 3:20-cv-00133-JCH

JURY TRIAL DEMANDED

MAY 11, 2020

NOT TO BE DOCKETED SEPARATELY

NOTICE OF SUBPOENA

PLEASE TAKE NOTICE that, pursuant to FRCP 45, Plaintiff Jakub Madej intends to

serve a Subpoena on Caroline G. HENDEL on May 11, 2020, or as soon thereafter as service may

be effectuated. A true and correct copy of the subpoena is attached to this notice.

Executed: May 11, 2020 in Phoenix, Arizona.

Respectfully,

/s/ Jakub Madej
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CERTIFICATE OF SERVICE

I certify under penalty of perjury that I sent a true and correct copy of the attached Notice
of Subpoena, together with all attachments and exhibits, via certified mail on May 11, 2020 to the

attorneys of record for all of the parties in this action at the addresses listed below:

Patrick M. Noonan, Esq.
DONAHUE, DURHAM & NOONAN PC
741 Boston Post Road, Suite 306
Guilford, CT 06437

Telephone: (203) 458-9168

Fax: (203) 458-4424

/s/ Jakub Made}
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action

UNITED STATES DISTRICT COURT

 

 

for the
District of
)
Plaintiff )
V. ) Civil Action No.

)

)

Defendant )

SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To:

 

(Name of person to whom this subpoena is directed)

© Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:

‘Place: a a 7 Date and Time: —

 

The deposition will be recorded by this method:

 

O Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material:

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
CLERK OF COURT
OR

 

Signature of Clerk or Deputy Clerk Attorney's signature

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party) = ==
, who issues or requests this subpoena, are:

 

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Case 3:20-cv-00133-JCH Document 96-9 Filed 05/19/20 Page 4 of 7

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or \
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly ,
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within L00 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the carlicr of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research, development,
or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents, A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
If a subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) Inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Jnformation Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 
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JAKUB J. MADE)
65 DWIGHT ST, APT ALI
NEW HAVEN, CT 06511
203 928 8486 TEL

646 776 0066

203 902 0070 FAX

206 ELM STREET
PO BOX 4000

NEW HAVEN, CT 06511

].MADE] @LAWSHEET.COM

May 8, 2020

VIA CERTIFIED MAIL AND FAX
Caroline G. Hendel
Senior Associate General Counsel, Yale University

Re: Subpoena | Madgj v. Yale Univ. et al, No. 3:20-cv-00133-JCH

 

Dear Ms. Hendel,

I attach a tender of witness fees in the amount of $50. Please
contact me if you have trouble accessing the funds, in which case |

will arrange a check to be mailed to you as soon as practicable.

Respectfully,

CC: Patrick M. Noonan, Esq. (via email and certified mail)
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT

 

JAKUB MADE]
CIVIL ACTION No. 3:20-cv-00133-JCH
Plaintiff,
v.
JURY TRIAL DEMANDED
YALE UNIVERSITY et al.
Defendants. MAY 8, 2020

 

TENDER OF SUBPOENA FEES

FOR THE EXCLUSIVE USE OF: Caroline G. Hendel

This is to tender the fees for your 1 day's attendance and the mileage for your testimony

under the subpoena attached, pursuant to Federal Rule of Civil Procedure 45(b)(1).

I estimate that reasonable fees for attendance and for mileage are equal to $50 (fifty
dollars). Below you will find credit card details, which you should use to cover expenses incurred

in association with this subpoena.

 

No I (iss) Expiry Dae: cw

Amount: $50 (fifty dollars)

If you are unable to access the funds using the card details above, a paper check will be

mailed to you. You may also request an online transfer directly to your bank account.
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Case 3:20-cv-00133-JCH Document 96-9 Filed 05/19/20 Page 7 of 7

Don’t hesitate to contact me at (203) 928-8486 if you wish to communicate about this.

Dated: May 8, 2020 in Las Vegas, Nevada.

Respectfully submitted,

Jakub Madej

65 Dwight St

New Haven, CT 06511
Telephone: (203) 928-8486
Facsimile: (646) 776-0066

Fax: (203) 902-0070
Email: j.madej @lawsheet.com
